        Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 1 of 25




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


GORDON D. SONDLAND,

                Plaintiff

v.

MICHAEL R. POMPEO, individually,               Civil Action No. 21-1405 (RJL)

and

THE UNITED STATES OF AMERICA,

               Defendants

             PLAINTIFF’S MOTION TO TRANSFER CASE TO
                       THE COURT OF CLAIMS

      Plaintiff Gordon Sondland (“Plaintiff”), by and through his undersigned

counsel, hereby files this Moves to Transfer this case to the Federal Court of

Claims pursuant to 28 U.S.C. § 1631, and as grounds therefore states as follows:

      1. Subsequent to the filing of the Complaint, Defendant, The United States

of America, submitted a Westfall Certification (the “Certification”) confirming that

Defendant Michael Pompeo (“Pompeo”) was at all times acting within the scope of

his employment when he promised Plaintiff that he would reimburse Plaintiff’s

attorneys’ fees incurred in connection with his testimony during the impeachment

proceedings of former President Trump.
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 2 of 25




           2. As a result of the admissions contained in the Certification, this should be

transferred to the Federal Court of Claims.

           3. In support of this motion, the Court is respectfully referred to the

accompanying memorandum of points and authorities, the same of which is

incorporated herein by reference. A proposed Order consistent with this motion is

attached hereto.

           WHEREFORE, Plaintiff respectfully moves this honorable Court to grant

the Motion to Transfer to the Court of Claims, award him his attorney’s fees and

costs expended in this behalf and for whatever other relief is appropriate under the

circumstances.

           Respectfully submitted,


           __________________________________
           MARK A. BARONDESS, Esq.
           (DC Bar No. 391597)
           Attorney for Plaintiff
           MILLER BARONDESS LLP
           1999 Avenue of the Stars
           Suite 1000
           Los Angeles, California 90067
           Telephone: (310) 552-4400
           Facsimile: (310) 552-8400
           E-Mail: mbarondess@millerbarondess.com




513867.1                                      2
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 3 of 25




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


GORDON D. SONDLAND,

                    Plaintiff

v.

MICHAEL R. POMPEO, individually,                   Civil Action No. 21-1405 (RJL)

and

THE UNITED STATES OF AMERICA,

                   Defendants

     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFF’S MOTION TO TRANSFER CASE TO THE COURT OF
                            CLAIMS
           Plaintiff Gordon D. Sondland (“Plaintiff” or “Ambassador Sondland”), by

and through undersigned counsel, respectfully submits this Memorandum of Points

and Authorities in support of his Motion to Transfer this case to the Federal Court

of Claims (“Court of Claims”) pursuant to 28 U.S.C. § 1631.

I.         BACKGROUND

           1.   In this lawsuit, Plaintiff, a former top United States diplomat, seeks to

hold the Defendant United States of America (“United States”) Department of

State (“State Department”) – acting through the Defendant, then Secretary of State

Michael R. Pompeo (“Pompeo”) – to its word. Specifically, in 2019, Plaintiff had



513867.1                                     3
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 4 of 25




been subpoenaed to testify before Congress in his capacity as a State Department

employee, and State and Justice Department lawyers were declared unavailable to

advise Ambassador Sondland. Accordingly, Pompeo made a binding promise to

Ambassador Sondland that the State Department would reimburse Plaintiff’s legal

costs if he complied with the lawfully issued subpoena.

           2.   As set forth in the Complaint, Pompeo repeatedly represented that he

had full legal authority to bind the State Department to an agreement whereby the

State Department would reimburse Ambassador Sondland for his attorneys’ fees

and costs in connection with complying with a lawfully issued subpoena.

           3,   In direct and detrimental reliance on these promises, Ambassador

Sondland retained a Washington, D.C. firm specializing in Congressional

investigations and which had the capacity to help him prepare for his appearance

before Congress on an extraordinarily compressed timetable.            Ambassador

Sondland therefore relied on these promises in seeking outside counsel and

incurring nearly $1.8 million in attorneys’ fees.

           4.   Pompeo made repeated assurances to Ambassador Sondland that the

State Department would reimburse all of his legal fees and costs, and through the

fall of 2019, Pompeo and his staff continued to make the same reassurances.

Thereafter, in two sessions on October 17 and November 20, 2019, Ambassador




513867.1                                   4
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 5 of 25




Sondland testified under oath for over seventeen hours—the last seven on live

national television and otherwise broadcast around the globe.

           5.   Under intense questioning upon hours on end, Ambassador Sondland

truthfully testified to the best of his ability about his experiences on the front lines

of United States- Ukraine diplomatic relations.         His testimony addressed the

purported “quid pro quo” with the newly elected Ukrainian government.

           6.   For all his troubles, Ambassador Sondland learned that speaking

truthfully and candidly in front of Congress as cameras roll is a fireable offense in

Pompeo’s State Department. He, along with other top Administration officials,

were terminated on February 7, 2020.

           7.   Adding insult to injury, after Pompeo learned what Plaintiff had to say

to Congress during the 2019 Impeachment Inquiry—entirely frank and truthful, but

uncomfortable to the Administration— Pompeo attempted to back out of his

promises to Ambassador Sondland. As a result, the State Department withheld

reimbursement of his legal fees in blatant breach of the October 2019 contract

between the State Department and Ambassador Sondland. With the contractual

commitment of Pompeo having been abandoned for political convenience,

Ambassador Sondland turned to this Court to reimburse his legal fees.

           8.   Plaintiff filed his lawsuit on May 24, 2021, asserting four causes of

action: (i) breach of contract pursuant to the Tucker Act, 28 U.S.C. § 1491 against



513867.1                                    5
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 6 of 25




the United States of America; (ii) fraud, intentional misrepresentation, against

Pompeo in his individual capacity; (iii) negligent misrepresentation against

Pompeo in his individual capacity; and, (iv) breach of warranty of authority against

Pompeo in his individual capacity. (Docket No. 1, Complaint ¶¶ 63-90.)

           9.   While the Complaint alleged claims in the alternative against Pompeo

in his individual capacity, after this case was filed, on July 13, 2021, the United

States filed a Westfall Certification (the “Certification”). (Docket No. 12). The

Certification admitted and indisputably established that Pompeo was acting within

the full “scope of his employment as an officer or employee of the United States”

when he promised to reimburse Plaintiff’s attorneys’ fees.               (Id. at 1, 3.)

Accordingly, the Certification confirms that Pompeo did not personally commit

fraud, but rather acted within the course and scope of his employment, with

authority, and thereby bound United States by his promise.

           10   As a result of the filing of the Certification it was confirmed that this

case should be in the Court of Claims. In an effort to avoid any unnecessary

motion practice Plaintiff immediately reached out to counsel for the United States,

hoping it would stipulate to the transfer of the case to the Court of Claims.

(Declaration of Mark Barondess (“Barondess Declaration”) ¶ 2.)

           11. Plaintiff provided counsel for the Defendant numerous examples of

cases being transferred to the Court of Claims in analogous situations.             (Id.)



513867.1                                     6
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 7 of 25




Counsel for the United States agreed that Plaintiff could dismiss this action and

properly re-file his action in the Court of Claims but refused to stipulate to a

transfer. (Id. ¶ 3.) In fact, opposing counsel stated that, if Plaintiff dismissed this

action and re-filed in the Court of Claims, “[n]othing is stopping [Plaintiff] from

being in the [Court of Claims] tomorrow with a far faster route to resolution.” (Id.,

Ex. A.) Despite there seemingly not being an active dispute between the parties,

the United States continued to refuse to stipulate to the transfer, and stated it would

file a Motion to Dismiss rather than stipulating to the transfer of this case as

provided by the statutory and case law of this jurisdiction. (Id. ¶ 4.) As a result,

Plaintiff was forced to file this Motion to properly transfer this case to where it

now belongs, the Court of Claims.1

II.        LEGAL STANDARD

           12.   Pursuant to 28 U.S.C. § 1631, “[w]henever a civil action is filed in a

court as defined in section 610 of this title or an appeal . . . and that court finds that

there is a want of jurisdiction, the court shall, if it is in the interest of justice,

transfer such action or appeal to any other such court . . . in which the action or

appeal could have been brought at the time it was filed or noticed, and the action or

appeal shall proceed as if it had been filed in or noticed for the court to which it is

1
  If the Court grants this Motion, Plaintiff will contemporaneously voluntarily
dismiss his Second, Third, and Fourth Claims against Pompeo in his individual
capacity.

513867.1                                     7
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 8 of 25




transferred on the date upon which it was actually filed in or noticed for the court

from which it is transferred.”

III.       ARGUMENT

           13.   Plaintiff and the United States agree that, under 28 U.S.C. § 1491(a), a

claim for breach of contract against the United States asserted under the Tucker

Act seeking more than $10,000 in damages is properly maintained in the Court of

Claims.2 The instant action can be transferred to the Court of Claims pursuant to

28 U.S.C. § 1631. That section mandates that a court “shall, if it is in the interests

of justice,” transfer an action to a court “in which the action or appeal could have

been brought at the time it was filed.” As made clear by the Department of

Justice’s correspondence, this case could be dismissed and re-filed in the Court of

Claims “tomorrow.” There is no reason not to transfer it now.

           14.   Numerous courts, including in this District, have granted similar

motions to transfer allegations under the Tucker Act to the Court of Claims as a


2
 Plaintiff did not initially file this action in the Court of Claims because the instant
action also asserts personal tortious claims against Pompeo in his individual
capacity, which are not claims that can be asserted in the Court of Claims. Plaintiff
was uncertain whether the United States would admit, as Plaintiff suspected, that
Pompeo was acting with authority and within the scope of his employment when
he made his promises to Plaintiff. However, with the Certification, the United
States clearly confirmed that Pompeo was acting within the scope of his
employment when he bound the United States to reimburse Plaintiff’s legal fees.
Now that the United States has confirmed that Pompeo had the authority, there is
no question this case should be transferred to the Court of Claims.

513867.1                                     8
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 9 of 25




matter of course, and have been reversed when they failed to do so. See Soliman v.

Kerry, No. 16-5155, 2016 WL 6238578, at *1 (D.C. Cir. Sept. 22, 2016) (ordering

on Circuit’s own motion that “the district court’s dismissal of the breach of

contract claim be vacated and that claim be remanded to the district court with

instructions to transfer to the Court of Federal Claims pursuant to 28 U.S.C.

§ 1631” because, as “breach of contract claim sought over $10,000 in damages,

and that cause of action constitutes a claim against the United States founded . . .

upon an[] express or implied contract with the United States, 28 U.S.C.

§ 1491(a)(1), the Court of Federal Claims has exclusive jurisdiction”); Saunders v.

Wilkie, No. CV 19-11482, 2020 WL 6382888, at *6 (E.D. La. Oct. 30, 2020)

(“Under 28 U.S.C. § 1631, ‘[w]henever a . . . court finds that there is a want of

jurisdiction, the court shall, if it is in the interest of justice, transfer such action . . .

to any other such court in which the action . . . could have been brought at the time

it was filed or noticed. . . .’ The Court may therefore transfer plaintiff’s breach of

contract claim to the Court of Federal Claims, since it finds that the Court of

Claims has exclusive jurisdiction over plaintiff’s breach of contract claim.”);

Griswold v. Potter, No. 1:03-CV-429, 2003 WL 23941714, at *5 (W.D. Mich. Oct.

15, 2003) (“Moreover, given that Plaintiffs’ claims exceed the $10,000 limit on

this Court’s jurisdiction under the Little Tucker Act, the Court concludes that a

transfer would serve the interest of justice.”).



513867.1                                      9
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 10 of 25




           15,   Here, there is absolutely no question that Plaintiff has sufficiently pled

a breach of contract claim against the United States.               Plaintiff alleges that

(i) Pompeo repeatedly promised to reimburse Plaintiff completely for attorneys’

fees and costs if Plaintiff complied with the subpoena without the help of State

Department attorneys; (ii) Pompeo represented that he had the authority to bind the

Government; (iii) Pompeo had actual authority to authorize a principal officer of

the Foreign Service to procure legal services; (iv) in reliance upon Pompeo’s

promise, Plaintiff retained private counsel to represent him in his capacity as

Ambassador; and (v) Plaintiff incurred approximately $1.8 million in attorneys’

fees in the course of his legal representation before Congressional committees.

(Complaint ¶¶ 65-67.)

           16.   The Certification confirmed that Pompeo was representing and acting

on behalf of the United States when he made these promises, as the United States

later confirmed he was acting within the scope of his employment. If the United

States wishes to make factual arguments once the case is transferred to the Court of

Claims, that is its prerogative. But there is no reason not to transfer this case now.

           17.   The United States may argue that it is not in the “interests of justice”

pursuant to 28 U.S.C. § 1631 to transfer this case.              But it is unclear why

recommending a case be voluntarily dismissed and then re-filed rather than

transferred is in the “interests of justice” for the parties or the judicial economies of


513867.1                                     10
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 11 of 25




both courts.       While Plaintiff regrets having to bring this Motion, there is no

question that this action now belongs in the Court of Claims.3

IV.        CONCLUSION

           For the foregoing reasons, the Court should transfer the Action to the Court

of Claims.

           Respectfully submitted,

           __________________________________
           MARK A. BARONDESS, Esq.
           (DC Bar No. 391597)
           Attorney for Plaintiff
           MILLER BARONDESS LLP
           1999 Avenue of the Stars
           Suite 1000
           Los Angeles, California 90067
           Telephone: (310) 552-4400
           Facsimile: (310) 552-8400
           E-Mail: mbarondess@millerbarondess.com




3
 If the Court determines that any Opposition to this Motion would be frivolous or
would only be done to “harass, cause unnecessary delay, or needlessly increase the
cost of litigation,” the Court should issue an order to show cause pursuant to Fed.
R. Civ. Pro. 11(b)(3).

513867.1                                     11
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 12 of 25




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


GORDON D. SONDLAND,

                     Plaintiff

v.

MICHAEL R. POMPEO, individually,                   Civil Action No. 21-1405 (RJL)

and

THE UNITED STATES OF AMERICA,

                   Defendants

                      DECLARATION OF MARK BARONDESS
           I, Mark A, Barondess, Esq,, pursuant to 28 U.S.C. § 1746, declare and state

as follows:

           1.    I am a founding partner of the law firm Miller Barondess LLP, who

represents Plaintiff Gordon D. Sondland (“Plaintiff) in this action. I have personal

knowledge of the facts set forth herein, and if called as a witness, I could and

would competently testify to all of said facts. I make this declaration in support of

Plaintiff’s Motion to Transfer (the “Motion”).

           2.    Defendant the United States of America (the “United States”) filed its

Westfall Certification (the “Certification”) on July 13, 2021. As the Certification

confirmed that this case should be in the Federal Court of Claims, my office



513867.1                                    12
            Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 13 of 25




promptly reached out to counsel for the United States, hoping it would stipulate to

the transfer of the case to the Court of Claims. My office provided numerous

examples of cases being transferred to the Court of Claims in analogous situations.

           3.    During our correspondence, including a telephone call in which I

personally participated, counsel for the United States of America agreed that

Plaintiff could dismiss this action and properly re-file his action in the Court of

Claims, but refused to stipulate to a transfer. In fact, opposing counsel stated that,

if Plaintiff dismissed this action and re-filed in the Court of Claims, “[n]othing is

stopping [Plaintiff] from being in the [Court of Federal Claims] tomorrow with a

far faster route to resolution.”

           4.    Despite the Defendants not having an active dispute between the

parties that this action could be asserted in the Court of Claims, the United States

of America refused to stipulate, and stated it would file a Motion to Dismiss rather

than stipulating to the simple transfer of this case as provided by law.

           5.    As a result, we unfortunately had no choice but to file the instant

Motion to Transfer.

           6.    A true and correct copy of our email correspondence with counsel for

the United States is attached hereto as Exhibit A.




513867.1                                   13
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 14 of 25




    I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF
THE UNITED STATES OF AMERICA THAT THE FOREGOING IS TRUE
AND CORRECT.


           Executed on July 23, 2021


           __________________________________
           MARK A. BARONDESS, Esq.
           Attorney for Plaintiff




513867.1                                 14
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 15 of 25




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


GORDON D. SONDLAND,

                     Plaintiff

v.

MICHAEL R. POMPEO, individually,                  Civil Action No. 21-1405 (RJL)

and

THE UNITED STATES OF AMERICA,

                   Defendants

           [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO
                TRANSFER CASE TO THE COURT OF CLAIMS
           This matter is before the Court on Plaintiff Gordon D. Sondland’s Motion to

Transfer the Case to the Court of Claims (the “Motion”). The Court has reviewed

the moving, opposition, and reply papers in support thereof. The Court deems this

matter appropriate for ruling without oral argument. See Local Rule 7(f).

The Court GRANTS the Motion. The matter is TRANSFERRED to the Court of

Federal Claims pursuant to 28 U.S.C. § 1631. By Consent, the Plaintiff agrees to

dismiss without prejudice his Second, Third, and Fourth Claims against Pompeo in

his individual capacity.




513867.1                                    15
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 16 of 25




           IT IS SO ORDERED.


DATED: ___________________
                                       Hon. Richard J. Leon
                                       Judge of the United States District Court




513867.1                                 16
Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 17 of 25


                   EXHIBIT A




                   EXHIBIT A
                 Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 18 of 25




From:                            Lyons, Jane (USADC) <Jane.Lyons@usdoj.gov>
Sent:                            Thursday, July 22, 2021 4:21 PM
To:                              Skip Miller; Max W. Hirsch
Cc:                              Mark Barondess
Subject:                         RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer


Gentlemen,

Thanks for your note. I hope this day finds you well.

First, if expediency and cost are your primary concerns, we continue to recommend that you voluntarily
dismiss the current case and re-fie the contract claim in the Court of Federal Claims. Rule 3.1 of the Rules of
Procedure for the CFC requires an amended complaint if the case arrives via transfer, so you are going to have
to do that either way. Just remember that 28 USC 1500 would jurisdictionally bar the CFC complaint if you
don’t get the DDC case dismissed first. But nothing is stopping you from being in the CFC tomorrow with a far
faster route to resolution.

Second, assuming that you continue to consider the transfer idea, I can convey that I recently spoke to the
Acting Director of the section at DOJ that handles matters in the CFC. He reiterated that we still do not
currently have a position on a request to transfer Count I of the current complaint. From his perspective and
after years of working in this particular area of practice, the allegations in the complaint are not run-of-the
mill, and he awaits careful consideration of the allegations by his experts in this area of practice so we do not
expect to be able to take a position on transfer until sometime next week, probably not before mid-week. Our
reason, in a nutshell, is that it is not yet clear to us that transfer would be in the interests of justice or that the
claim as currently pled would survive a threshold motion in the CFC. We agree, of course, that a legitimate
claim for well over $10,000 belongs in the CFC, but you have not pointed us to any ready comparators or
decisions from the CFC or Federal Circuit for us to consider in this regard. We remain willing to consider any of
your research that you care to share.

Third, you reported in your July 15 email that you planned to voluntarily dismiss the tort claims formerly
against Secretary Pompeo in his personal capacity. Please do so or advise me whether you still plan to file a
notice of dismissal of those tort claims. Their continued pendency impacts the scope of my motion to dismiss,
and because our response to the complaint is due on Monday, July 26, we would appreciate knowing your
position by 10:00 am EST on Monday. If you do not dismiss before then, we will simply file a motion to dismiss
all four claims. The motion is already written and is being improved in the review process currently. Naturally
you would still be able to dismiss the case or the tort claims voluntarily after we move to dismiss, but your
sensitivity to the optics on that is perhaps understandable.

Finally, as to settlement I think it’s probably best to defer that topic for now unless you would be interested in
an extremely steep discount. The jurisdictional limits on the court where the case presently sits constrain the
settlement authority of my office even below its ordinary delegated authority, and I would have to go to the
same people for meaningful settlement authority who are currently or soon will be considering whether
transfer is appropriate. They will want to resolve their view of the claim first. And once you get the correct
claim into the right court, you can speak directly with those same DOJ lawyers yourselves and I can stay out of
the middle.
                                                           1
                 Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 19 of 25


Best,
Jane


Jane M. Lyons
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street, NW | Civil Division | Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Skip Miller
Sent: Wednesday, July 21, 2021 11:31 AM
To: Lyons, Jane (USADC) ; Max W. Hirsch
Cc: Mark Barondess
Subject: Re: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

No threats Jane. We obviously can stipulate to transfer and save the Court and litigants the time and expense of a
motion. It happens all the time in Calif and DC. I'm not going to debate the merits other than to say that the promise to
pay confirmed the parties agreement. Let's stop the procedural back and forth, get the case in the proper court and then
litigate on the merits. Thank you for your consideration, Skip. PS. I did talk to our client about settlement and am willing
to discuss with you if you like.
From: Lyons, Jane (USADC) [mailto:Jane.Lyons@usdoj.gov]
Sent: Wednesday, July 21, 2021 07:48 AM Pacific Standard Time
To: Skip Miller; Max W. Hirsch
Cc: Mark Barondess
Subject: RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Gentlemen,

We have this under advisement today, but in the meantime I would respectfully ask that you reconsider the
threatening tone of your emails, if for no other reason than what you have proposed is improper procedurally.
28 USC 1631 allows a Court to transfer a case, but it does not provide a mechanism for it to happen by
stipulation of the parties. So although it may not be terribly difficult to convert what you sent me into a
motion that conforms to all of the rules here in D.C., I ask that you cease the multiple threats of seeking
sanctions. The law in this area is considerably more complex than you have acknowledged, and the allegations
in the existing complaint may or may not be sufficient to survive a motion to dismiss in the Court of Federal
Claims, which could influence the “interests of justice” associated with a proposed transfer. The allegations of
payment witnessed by others besides Sondland and Pompeo are of a promise to pay, and not necessarily a
contract, and even more than allegations of a valid contract may be required to state a valid claim in any
event.

I am unfamiliar with the practice of law in California, but I will neither tolerate nor hesitate to bring to the
attention of the Court any further baseless threats of sanctions. I will get back to you with our position as soon
as I receive further direction.

                                                             2
                  Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 20 of 25


Best,
Jane


Jane M. Lyons
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street, NW | Civil Division | Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Skip Miller <smiller@Millerbarondess.com>
Sent: Tuesday, July 20, 2021 11:19 PM
To: Lyons, Jane (USADC) <JLyons1@usa.doj.gov>; Max W. Hirsch <mhirsch@millerbarondess.com>
Cc: Mark Barondess <mbarondess@Millerbarondess.com>
Subject: Re: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Thank you for your email below and your consideration Jane. We've researched the law. Now that the government has
acknowledged responsibility for Secretary Pompeo, we have a claim under the Tucker Act for breach of contract (the
tort claims against Pompeo personally will be dismissed). There are multiple credible witnesses to the contract. We've
asked you to stipulate to transferring the case to the Court of Claims, where because of your admission it belongs.
Please stop dancing and sign the stipulation. It's without prejudice to and does not affect any of your legal rights or
defenses. Please don't make us file a motion to transfer. It would be unnecessary and unduly burdensome for the
litigants and Court; and potentially sanctionable. Skip Miller.

From: Lyons, Jane (USADC) [mailto:Jane.Lyons@usdoj.gov]
Sent: Tuesday, July 20, 2021 03:59 PM Pacific Standard Time
To: Max W. Hirsch
Cc: Mark Barondess; Skip Miller
Subject: FW: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Sorry for my clumsy hands that sent this before I finished it. Here is the rest:

1292(d)(4) and 28 USC 1500, as well as the requirements of the Contracts Disputes Act, have been the subject of many
opinions and jurisdiction is a word that is not always used consistently even by judges. It may simply not be that one size
fits all. In other words, not all allegations of a contract and a breach may not be sufficient.

But we need not be contentious here if there is a chance things might go another direction. I will look at what you have
put together and confer with the State Department and the part of DOJ that is responsible for cases actually in the Court
of Federal Claims. I will get back to you as soon as I am able. I assure you that DOJ will not take a position if it lacks a
colorable basis for it. But I allow for the possibility most of the time that other people know more than I do. Thank you
for giving us a bit more time to study this matter.

Please have a nice evening.

Best,
Jane

                                                              3
                  Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 21 of 25



Jane M. Lyons
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street, NW | Civil Division | Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Lyons, Jane (USADC)
Sent: Tuesday, July 20, 2021 6:50 PM
To: Max W. Hirsch <mhirsch@millerbarondess.com>
Cc: Mark Barondess <mbarondess@Millerbarondess.com>; Skip Miller <smiller@Millerbarondess.com>
Subject: RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Gentlemen:

Although I may have failed last evening to articulate our basis for opposing a transfer, my further research today
suggests that (as I was at least in the ballpark of yesterday) the jurisdiction of the court of federal claims can depend on
both the sufficiency of the allegations of both the contract and the claim. These matters require some thought and
analysis by the DOJ lawyers who make this their specialty. The complexities and interplay between the statutes we
discussed last night, 28 USC

From: Max W. Hirsch <mhirsch@millerbarondess.com>
Sent: Tuesday, July 20, 2021 6:34 PM
To: Lyons, Jane (USADC) <JLyons1@usa.doj.gov>
Cc: Mark Barondess <mbarondess@Millerbarondess.com>; Skip Miller <smiller@Millerbarondess.com>
Subject: RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Counsel,

As discussed during our meet and confer call yesterday, attached please find a joint stipulation to transfer this action to
the Court of Claims. As discussed yesterday, the stipulation expressly contemplates that each side retains the right to
make any argument once the case is transferred.

As discussed yesterday, we hope we can resolve this without motion practice, as you did not raise a single legitimate
basis to oppose stipulating to the transfer of this action during our call. If you do not stipulate, we will be forced to file a
motion. In that motion, we will note your failure to articulate a single legitimate basis to oppose stipulating to a transfer,
and we will seek our fees.

Best,
Max

Max W. Hirsch
MILLER | BARONDESS                              LLP

1999 Avenue of the Stars, Suite 1000
Los Angeles, CA 90067
Main: 310-552-4400
Direct: 310-552-5237
                                                               4
                 Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 22 of 25
Fax: 310-552-8400
mhirsch@millerbarondess.com
www.millerbarondess.com
Biography

 Please consider the environment – do you really need to print this email?
From: Max W. Hirsch
Sent: Friday, July 16, 2021 1:55 PM
To: 'Lyons, Jane (USADC)'
Cc: Mark Barondess; Skip Miller
Subject: RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Jane,

Thanks for your prompt reply. Monday at 7 pm EDT should work for us. We can also do Tuesday at the same time if
that’s better for you (Skip is in trial).

We of course disagree with your contention that proving our case will be an “uphill battle,” as multiple individuals
(including other State Department employees) witnessed Pompeo’s promise and subsequent reassurances. But we don’t
need to litigate that now.

Speak next week; have a nice weekend. Let’s use the following dial-in for our call, an outlook invite will follow:

Dial-in: 866-642-2818
Code: 310 552 5237 #

Best,
Max

Max W. Hirsch
MILLER | BARONDESS                             LLP

1999 Avenue of the Stars, Suite 1000
Los Angeles, CA 90067
Main: 310-552-4400
Direct: 310-552-5237
Fax: 310-552-8400
mhirsch@millerbarondess.com
www.millerbarondess.com
Biography

 Please consider the environment – do you really need to print this email?
From: Lyons, Jane (USADC) [mailto:Jane.Lyons@usdoj.gov]
Sent: Thursday, July 15, 2021 9:15 PM
To: Max W. Hirsch
Cc: Mark Barondess; Skip Miller
Subject: RE: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer

Gentlemen:

Thank you for your email. I need to confer with the State Department and coordinate with lawyers in the National
Courts section before taking a position on your request to transfer the First Cause of Action to the Court of Federal
Claims in conjunction with a voluntary dismissal of the remaining claims. Although I do not expect that to take terribly
                                                             5
                  Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 23 of 25
long, I am in a mediation tomorrow so it would likely be best to plan to speak on Monday afternoon. Shall we plan for 7
pm EDT? I can also be available on Tuesday if that would be more convenient for you.

I told Skip that I wasn’t an expert in all things government contracts because that is not among my areas of expertise.
And although I think I can see quite an uphill battle for enforcing the oral contract claim alleged in the complaint, I will
leave it to my colleagues at Main Justice to raise the defenses they may see if the case is transferred to the Court of
Claims.

Best,
Jane


Jane M. Lyons
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street, NW | Civil Division | Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Max W. Hirsch <mhirsch@millerbarondess.com>
Sent: Thursday, July 15, 2021 8:46 PM
To: Lyons, Jane (USADC) <JLyons1@usa.doj.gov>
Cc: Mark Barondess <mbarondess@Millerbarondess.com>; Skip Miller <smiller@Millerbarondess.com>
Subject: Sondland v. Pompeo Case No. 1:21-cv-01405-RJL Meet and Confer


Counsel,

        This email constitutes our request to meet and confer regarding the filing of a Motion to Transfer to transfer the
above-captioned case to the Court of Claims pursuant to 28 U.S.C. § 1631. Since the government has formally conceded
that former Sec. Pompeo was clearly acting with authority in the course and scope of his employment regarding the
events alleged in the Complaint, the tort claims asserted against Mr. Pompeo may now be dismissed voluntarily by us
and the case will properly proceed pursuant to the Tucker Act against the United States in the Court of Claims.

          Please advise if you will consent or stipulate to the transfer of this case to the Court of Claims on this basis. This
will hopefully avoid an unnecessary filing with the Court to achieve the same result. Numerous courts, including this
District, have granted similar motions as a matter of course, and have been reversed when they failed to do so. See
Soliman v. Kerry, No. 16-5155, 2016 WL 6238578, at *1 (D.C. Cir. Sept. 22, 2016) (ordering on court’s own motion that
“the district court’s dismissal of the breach of contract claim be vacated and that claim be remanded to the district court
with instructions to transfer to the Court of Federal Claims pursuant to 28 U.S.C. § 1631” because, as “breach of contract
claim sought over $10,000 in damages, and that cause of action constitutes a claim against the United States founded ...
upon an[ ] express or implied contract with the United States, 28 U.S.C. § 1491(a)(1), the Court of Federal Claims has
exclusive jurisdiction”); Saunders v. Wilkie, No. CV 19-11482, 2020 WL 6382888, at *6 (E.D. La. Oct. 30, 2020) (“Under 28
U.S.C. § 1631, ‘[w]henever a ... court finds that there is a want of jurisdiction, the court shall, if it is in the interest of
justice, transfer such action ... to any other such court in which the action ... could have been brought at the time it was
filed or noticed....’ The Court may therefore transfer plaintiff's breach of contract claim to the Court of Federal Claims,
since it finds that the Court of Claims has exclusive jurisdiction over plaintiff's breach of contract claim. For the reasons
discussed above, the Court finds that this requirement is satisfied.”); Griswold v. Potter, No. 1:03-CV-429, 2003 WL

                                                               6
                  Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 24 of 25
23941714, at *5 (W.D. Mich. Oct. 15, 2003) (“Moreover, given that Plaintiffs' claims exceed the $10,000 limit on this
Court's jurisdiction under the Little Tucker Act, the Court concludes that a transfer would serve the interest of justice.”).

         Additionally, I understand that you told Skip that Tucker Act claims could not be predicated on oral contracts.
This is wrong. Pursuant to 28 U.S.C. section 1491(a)(1), “[t]he United States Court of Federal Claims shall have
jurisdiction to render judgment upon any claim against the United States founded either upon the Constitution, or any
Act of Congress or any regulation of an executive department, or upon any express or implied contract with the United
States.” (emphasis added). Implied contracts, by their nature, are not in writing. Accordingly, the statute itself
contemplates Tucker Act claims based on verbal or oral contracts. This reading of the statute is confirmed by the Court
of Claims and other courts, which consistently hold that a Tucker Act claim can be predicated on an oral contract. See
Mendez v. United States, 121 Fed. Cl. 370, 378 (2015) (“[A]ny agreement can be a contract within the meaning of the
Tucker Act, provided that it meets the requirements for a contract with the government. . . .Thus, the alleged express or
implied contract may be oral or written.”); Lublin Corp. v. United States, 84 Fed. Cl. 678, 689 (2008) (“A number of other
cases, among them several in the Court of Claims, conclude that unwritten contracts are enforceable under the Tucker
Act.”) (collecting cases).

         Please let us know if you are available to discuss the Motion tomorrow afternoon after 3 PM EDT, or Monday
after 7 PM EDT.

        We look forward to speaking with you. Thank you.

Best,
Max

Max W. Hirsch
MILLER | BARONDESS                               LLP

1999 Avenue of the Stars, Suite 1000
Los Angeles, CA 90067
Main: 310-552-4400
Direct: 310-552-5237
Fax: 310-552-8400
mhirsch@millerbarondess.com
www.millerbarondess.com
Biography

 Please consider the environment – do you really need to print this email?
CAUTION: This email originated from outside of Miller Barondess. Do not click on any links or open any attachments unless you
recognize the sender, verified the email address and know the content is safe.


CAUTION: This email originated from outside of Miller Barondess. Do not click on any links or open any attachments unless you
recognize the sender, verified the email address and know the content is safe.


CAUTION: This email originated from outside of Miller Barondess. Do not click on any links or open any attachments unless you
recognize the sender, verified the email address and know the content is safe.


CAUTION: This email originated from outside of Miller Barondess. Do not click on any links or open any attachments unless you
recognize the sender, verified the email address and know the content is safe.




                                                                7
           Case 1:21-cv-01405-RJL Document 13 Filed 07/23/21 Page 25 of 25




                             CERTIFICATE OF SERVICE

           I certify that an exact and true copy of the foregoing Motion, Memorandum

of Points and Authorities and Proposed Order was served by the Electronic Court

Filing system and electronic mail on this 23rd day of July, 2021, to the following:

Jane M. Lyons
U.S. ATTORNEY'S OFFICE for D.C. Civil Division
555 Fourth Street, NW, Washington, DC 20530
Tel: (202) 252-2540
Fax: (202) 252-2599
Email: jane.lyons@usdoj.gov
Attorney for Defendant United States of America

William Burck
QUINN EMANUEL URQUHART & SULLIVAN LLP
1300 I St NW #900, Washington, DC 20005
Tel: (202) 538-8000
Fax: (202) 538-8100
Email: williamburck@quinnemanuel.com
       Attorney for Defendant Michael PompeoRespectfully submitted,


           __________________________________
           MARK A. BARONDESS, Esq.
           (DC Bar No. 391597)
           Attorney for Plaintiff
           MILLER BARONDESS LLP
           1999 Avenue of the Stars
           Suite 1000
           Los Angeles, California 90067
           Telephone: (310) 552-4400
           Facsimile: (310) 552-8400
           E-Mail: mbarondess@millerbarondess.com




513867.1                                   25
